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SENTENCING MINUTES
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

case # OY-GL00/-CA LAWL.
DEFENDANT AY et Ann Hassoun JUDGE MARCIA G. COOKE

 

 

 

 

 

 

 

Deputy Clerk _ [van Marchena Date Shitudsly ZZ, 2 COF
Court Reporter A: Dispen eet, interpreter
AUSA Ausse/l Killinger Deft’s Counsel _X. Eilarps Z x bakey

COUNTS DISMISSED
Deft. Failed to Appear - Warrant to be Issued - Bond Forfeited
Sentencing cont'd until at AM/PM

 

JUDGMENT AND SENTENCE

 

Imprisonment Years Months ; Counts
_ 188. /
_ oO 2 Cone wher

 

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Supervised Release Z0 Yes. Special Conditions

 

 

 

 

 

 

 

 

 

 

Probation Years Months Counts
Comments
Assessment $_ 400. Fine $
Restitution/Other
CUSTODY
___. Remanded to the Custody of the U.S. Marshal Service Release on bond pending appeal

Voluntary Surrender to (designated institution or U.S. Marshal Service) on

Commitment Recommendation: LOE Mian W letal fatifitg To be Ktpr
ator Qiaun/ ft.) (tn ding aoebll
